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Presentations

« Course planner and presenter, Pennsylvania Bar Institute Personal Injury Law Conference:
The Need for Civility, 2019-2020

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“| enjoy powerlifting. I've always been involved in sports and weightlifting, and I'm currently a
member of the International Powerlifting Association and the United States Powerlifting
Association. | hold National Records in the United States Powerlifting Association, an Ohio state
record in the Revolution Powerlifting Syndicate, and Pennsylvania state records in the
International Powerlifting Association.”

Hello. Welcome to Edgar Snyder &
Associates. lama
here to help.

I SR =

Partnering with the Pittsburgh Steelwheelers

